Case 1:21-cv-03354-BAH Document 44-3 Filed 04/17/23 Page 1 of 7




           EXHIBIT 1
                                Case 1:21-cv-03354-BAH Document 44-3 Filed 04/17/23 Page 2 of 7
                 CHART SUMMARIZING PLAINTIFFS’ REQUESTS FOR PRODUCTION OF DOCUMENTS TO
                 DEFENDANT RUDOLPH W. GIULIANI AND DEFENDANT’S RESPONSES AND OBJECTIONS

RFP     Date of Request/Set #                      Request                                                      Objection                                                    Response
      First Set of RFPS  RFP No. 1: All Documents and Communications relating           Defendant objects to this request as overly broad in that it   Subject to and without waiving these objections,
                         to any allegations in the Complaint in the above-              calls for “all documents” that “relate” to the voluminous      Defendant will agree to produce non-privileged
      SENT: May 20, 2022 captioned matter, including but not limited to (a) all         allegations in the Complaint. Defendant also objects that      documents previously produced to the January 6th
                         Communications You have had with any person or entity          the Request calls for potentially voluminous amounts of        Special Committee and Dominion at a mutually
      RESPONSE RECEIVED: named in the Complaint, including but not limited to           privileged materials. Defendant further objects that any       agreeable time and place.
 1
      June 28, 2022.     anyone employed by or affiliated with OAN, and (b) all         documents in the public domain are equally available to
                         Communications relating to Plaintiffs (by name or              Plaintiffs.
                         otherwise) that You have had with any person or entity.


      First Set of RFPS  RFP No. 2: All Documents upon which you relied for             Defendant objects to this request as overly broad in that it   Subject to and without waiving these objections,
                         any Statement attributed to You in the Complaint,              calls for “all documents” that Defendant may have relied       Defendant will agree to produce non-privileged
      SENT: May 20, 2022 including but not limited to all Documents and                 on for any statements made in the Complaint. Defendant         documents previously produced to the January 6th
                         Communications relating to any investigation into the          also objects that the Request calls for potentially            Special Committee and Dominion at a mutually
 2    RESPONSE RECEIVED: truth or falsity of the Statement by You or anyone else.       voluminous amounts of privileged materials. Defendant          agreeable time and place.
      June 28, 2022.                                                                    further objects that any documents in the public domain
                                                                                        are equally available to Plaintiffs.


      First Set of RFPS  RFP No. 3: A complete copy of all Documents relating           Defendant objects that any documents in the public             Subject to
                         to Plaintiffs or the results of the 2020 Presidential          domain are equally available to Plaintiffs.                    and without waiving these objections, Defendant will
      SENT: May 20, 2022 Election in Georgia that have at any time been posted to                                                                      agree to produce non-privileged documents
 3                       any websites or Social Media account under Your                                                                               previously produced to the January 6th Special
      RESPONSE RECEIVED: ownership, custody, or control.                                                                                               Committee and Dominion at a mutually agreeable
      June 28, 2022.                                                                                                                                   time and place.

      First Set of RFPS  RFP No. 4: All Documents and Communications           Defendant objects that the Request calls for potentially                Subject to and without waiving these objections,
                         concerning the steps You have taken to preserve       voluminous amounts of privileged materials.                             Defendant will agree to produce non-privileged
      SENT: May 20, 2022 Documents and Communications relevant to the lawsuit,                                                                         documents previously produced to the January 6th
                         including the Documents and Communications responsive                                                                         Special Committee and Dominion at a mutually
 4    RESPONSE RECEIVED: to these Requests.                                                                                                            agreeable time and place.
      June 28, 2022.




      First Set of RFPS         RFP No. 5: All Documents and Communications             Defendant objects that the Request calls for potentially       Subject to and without waiving these objections,
                                regarding the Watson Affidavit.                         voluminous amounts of privileged materials.                    Defendant will agree to produce non-privileged
      SENT: May 20, 2022                                                                                                                               documents previously produced to the January 6th
                                                                                                                                                       Special Committee and Dominion at a mutually
 5    RESPONSE RECEIVED:                                                                                                                               agreeable time and place.
      June 28, 2022.




      First Set of RFPS         RFP No. 6: All Documents and Communications             Defendant objects to the word “regarding” as vague.            Subject to and without waiving these objections,
                                regarding the Giuliani Communications Plan.             Defendant will construe the word as “relating to” the          Defendant will agree to produce non-privileged
      SENT: May 20, 2022                                                                subject matter of the document referred to by the              documents previously produced to the January 6th
                                                                                        Request. Defendant objects that the Request calls for          Special Committee and Dominion at a mutually
 6
      RESPONSE RECEIVED:                                                                potentially voluminous amounts of privileged materials.        agreeable time and place.
      June 28, 2022.


      First Set of RFPS  RFP No. 7: All Documents and Communications                Defendant objects that the Request calls for potentially           Subject to and without waiving these objections,
                         regarding the Georgia Bureau of Investigation’s            voluminous amounts of privileged materials.                        Defendant will agree to produce non-privileged
      SENT: May 20, 2022 investigation and findings regarding the 2020 Presidential                                                                    documents previously produced to the January 6th
                         Election in Georgia, including Documents and                                                                                  Special Committee and Dominion at a mutually
      RESPONSE RECEIVED: Communications produced to the Georgia Bureau of                                                                              agreeable time and place. However, Defendant
 7
      June 28, 2022.     Investigation.                                                                                                                cannot confirm whether or which documents may or
                                                                                                                                                       may not have been produced to the GBI by the legal
                                                                                                                                                       team representing the Trump Campaign.


      First Set of RFPS  RFP No. 8: All Documents and Communications                Defendant objects that the Request calls for potentially           Subject to and without waiving these objections,
                         regarding the United States Department of Justice’s        voluminous amounts of privileged materials.                        Defendant will agree to produce non-privileged
      SENT: May 20, 2022 investigation and findings regarding the 2020 Presidential                                                                    documents previously produced to the January 6th
                         Election in Georgia, including Documents and                                                                                  Special Committee and Dominion at a mutually
 8    RESPONSE RECEIVED: Communications produced to the United State                                                                                   agreeable time and place. However, Defendant
      June 28, 2022.     Department of Justice.                                                                                                        cannot confirm whether or which documents may or
                                                                                                                                                       may not have been produced to the DOJ by the legal
                                                                                                                                                       team representing the Trump Campaign.




                                                                                                 1
                                Case 1:21-cv-03354-BAH Document 44-3 Filed 04/17/23 Page 3 of 7


RFP     Date of Request/Set #                          Request                                                     Objection                                                    Response
      First Set of RFPS         RFP No. 9: All documents and Communications                Defendant objects that the Request calls for potentially       Subject to and without waiving these objections,
                                regarding Brad Raffensperger, Secretary of State for the   voluminous amounts of privileged materials.                    Defendant will agree to produce non-privileged
      SENT: May 20, 2022        State of Georgia.                                                                                                         documents previously produced to the January 6th
 9                                                                                                                                                        Special Committee and Dominion at a mutually
      RESPONSE RECEIVED:                                                                                                                                  agreeable time and place.
      June 28, 2022.

      First Set of RFPS         RFP No. 10: All Documents and Communications               Defendant objects that the Request calls for potentially       Subject to and without waiving these objections,
                                regarding Gabriel Sterling, Voting Implementation          voluminous amounts of privileged materials.                    Defendant will agree to produce non-privileged
      SENT: May 20, 2022        Manager for the State of Georgia.                                                                                         documents previously produced to the January 6th
                                                                                                                                                          Special Committee and Dominion at a mutually
10
      RESPONSE RECEIVED:                                                                                                                                  agreeable time and place.
      June 28, 2022.


      First Set of RFPS
                      RFP No. 11: All phone records sufficient to show all                 Defendant objects that the Request is overly broad,            Subject to and without waiving these objections,
                      phone numbers and providers You used during the                      unduly burdensome, and not calculated to lead to the           Defendant will agree to produce non-privileged
   SENT: May 20, 2022 Relevant Time Period and all Documents, including                    discovery of admissible evidence.                              documents previously produced to the January 6th
11                    mobile phone billing records, showing the calls You                                                                                 Special Committee and Dominion at a mutually
   RESPONSE RECEIVED: made or received during the Relevant Time Period                                                                                    agreeable time and place. However, Defendant does
   June 28, 2022.     relating to the allegations in the Complaint.                                                                                       not believe that there are phone records in this
                                                                                                                                                          production.

      First Set of RFPS         RFP No. 12: All Agreements, whether formal or              N/A                                                            Defendant will produce a joint defense agreement
                                informal, between You and OAN executed between                                                                            entered into in the Coomer litigation pending in
      SENT: May 20, 2022        January 1, 2013, and the date of the Requests.                                                                            Denver, Colorado.

12 RESPONSE RECEIVED:
   June 28, 2022.




      First Set of RFPS
                      RFP No. 13: All Documents and Communications                         Defendant objects to this request as overly broad in that it   Subject to and without waiving these objections,
                      regarding any and all efforts that You made to promote               calls for “all documents” that “regard” claims of election     Defendant will agree to produce non-privileged
   SENT: May 20, 2022 claims of election fraud on behalf of former President J.            fraud. Defendant further objects to the term “promote” as      documents previously produced to the January 6th
                      Trump and/or the Trump Campaign as they relate to the                argumentative and vague. Defendant will construe this          Special Committee and Dominion at a mutually
   RESPONSE RECEIVED: 2020 presidential election in Georgia.                               term as “communicate”. Defendant also objects that the         agreeable time and place.
13 June 28, 2022.                                                                          Request calls for potentially voluminous amounts of
                                                                                           privileged materials. Defendant further objects that any
                                                                                           documents in the public domain are equally available to
                                                                                           Plaintiffs.


      First Set of RFPS         RFP No. 14: All Documents and Communications               N/A                                                            Defendant will agree to produce non-privileged
                                produced to the January 6th Committee as they relate to                                                                   documents previously produced to the January 6th
      SENT: May 20, 2022        the 2020 Presidential Election in Georgia.                                                                                Special Committee and Dominion at a mutually
                                                                                                                                                          agreeable time and place.
14
      RESPONSE RECEIVED:
      June 28, 2022.


      First Set of RFPS         RFP No. 15: All Documents and Communications of            Defendant objects to this request as overly broad in that it   Subject to and without waiving these objections,
                                which You are aware that refute Your Statements about      calls for “all documents” that “regard” claims of election     Defendant will agree to produce non-privileged
      SENT: May 20, 2022        Plaintiffs.                                                fraud. Defendant further objects to the term “refute” as       documents previously produced to the January 6th
                                                                                           argumentative and vague. Defendant will construe this          Special
      RESPONSE RECEIVED:                                                                   term as “expressing alternative views”. Defendant further
      June 28, 2022.                                                                       objects that any documents in the public domain are
15                                                                                         equally available to Plaintiffs. Committee and Dominion
                                                                                           at a mutually agreeable time and place. Plaintiffs can
                                                                                           make their own conclusions about whether any of these
                                                                                           documents “refute” Defendant’s statements about
                                                                                           Plaintiffs.


      First Set of RFPS
                      RFP No. 16: Documents and Communications sufficient Defendant objects to this request because it calls for                          Subject to and without waiving these objections,
                      to identify all user names, handles, aliases, or any other publicly available information that is equally available to              Defendant will agree to produce non-privileged
   SENT: May 20, 2022 identifiers You have ever used on Social Media to publish Plaintiffs.                                                               documents previously produced to the January 6th
                      information about the 2020 Presidential Election,                                                                                   Special Committee and Dominion at a mutually
16 RESPONSE RECEIVED: including but not limited to information about the 2020                                                                             agreeable time and place.
   June 28, 2022.     Presidential Election in the State Georgia and/or about
                      Plaintiffs, by name or otherwise.




                                                                                                    2
                                Case 1:21-cv-03354-BAH Document 44-3 Filed 04/17/23 Page 4 of 7


RFP     Date of Request/Set #                   Request                                                         Objection                                                   Response
      First Set of RFPS
                      RFP No. 17: All Documents and Communications                     Defendant objects to this request as overly broad in that it   Subject to and without waiving these objections,
                      demonstrating your role, official or unofficial, with the        calls for “all documents” that “demonstrate” Defendant’s       Defendant will agree to produce non-privileged
   SENT: May 20, 2022 Trump Campaign and/or any engagement you had with                role with his clients, which necessarily calls for             documents previously produced to the January 6th
                      former President Donald J. Trump, including Documents            potentially voluminous amounts of privileged materials.        Special Committee and Dominion at a mutually
   RESPONSE RECEIVED: and Communications which reflect the dates as relevant           Defendant further objects that any documents in the            agreeable time and place.
17 June 28, 2022.     to your role(s) and/or engagement(s). For clarity, this          public domain are equally available to Plaintiffs.
                      includes but is not limited to any engagement letter with
                      the Trump Campaign and/or with former President
                      Donald J. Trump.


      First Set of RFPS
                      RFP No. 18: All Documents and Communications                     Defendant objects to this request as overly broad in that it   Subject to and without waiving these objections,
                      relating to any of Your responses to any discovery,              calls for “all documents” that “relate” to Defendant’s         Defendant will agree to produce non-privileged
   SENT: May 20, 2022 including Interrogatories and Requests for Admission,            discovery responses, which necessarily calls for               documents previously produced to the January 6th
                      served upon or that will be served upon You in the above-        potentially voluminous amounts of privileged materials.        Special Committee and Dominion at a mutually
18
   RESPONSE RECEIVED: captioned matter.                                                                                                               agreeable time and place.
   June 28, 2022.


      First Set of RFPS
                      RFP No. 19: Documents sufficient to summarize viewer Defendant objects to this request as overly broad and                      Subject to and without waiving these objections,
                      and listener metrics for All Your Statements on Social     unduly burdensome as it calls for Defendant to create                Defendant does not have summary documents
   SENT: May 20, 2022 Media and your Podcast, Rudy Giuliani’s Common             documents.                                                           available but will supplement if and when able
19                    Sense, from the date of original publication through                                                                            regarding the numbers Plaintiffs’ requests.
   RESPONSE RECEIVED: today, including reach, count, page visits, posts, shares,
   June 28, 2022.     time spent, impressions, and listener numbers.


      Second Set of RFPSRFP No. 20: All Documents and Communications that         N/A                                                                 Defendant has previously produced documents
                        You have produced to the Fulton County District                                                                               provided to January 6th Committee. Defendant will
   SENT: August 5, 2022 Attorney and/or any other federal or state governmental                                                                       supplement with any documents produced to Fulton
20                      investigations about Your Claims of Election Fraud in the                                                                     County to the extent they are not the same.
   RESPONSE RECEIVED: 2020 Presidential Election.
   Sept. 12, 2022

      Second Set of RFPSRFP No. 21: All Documents and Communications              N/A                                                                 Defendant currently does not have documents
                        Relating To alleged corruption and/or damage of Your                                                                          responsive to this request but is attempted to obtain
   SENT: August 5, 2022 devices and/or productions to the January 6 Committee,                                                                        such documents from third parties.
21                      the United States Department of Justice, and/or any other
   RESPONSE RECEIVED: entity.
   Sept. 12, 2022

      Second Set of RFPSRFP No. 22: All engagement letters and invoices, and           Defendant objects that this Request is overly broad,       Defendant will provide a list of which attorneys
                        Documents otherwise sufficient to identify all of the          unduly burdensome, harassing, and not calculated to lead represented/represented him in particular actions
   SENT: August 5, 2022 attorneys with whom you have an attorney-client                to the discovery of admissible evidence and even calls for described in the Request.
                        relationship in connection with any civil litigations to       privileged documents in that it calls for “all documents”
   RESPONSE RECEIVED: which You are a party and/or any civil or criminal               sufficient to evidence an attorney-client relationship.
22 Sept. 12, 2022       litigation, grand jury testimony, and/or state or federal      Defendant does not have an attorneys’ fees claim in this
                        investigations Relating To Your Claims about the 2020          case. Therefore, Defendant will not produce any
                        Presidential Election.                                         attorneys’ fees statements or engagement letters or other
                                                                                       particular documents.


      Second Set of RFPSRFP No. 23: All engagement letters and invoices, and           Defendant objects that this Request is overly broad,       Subject to and without waiving these objections,
                        Documents otherwise sufficient to identify all of the          unduly burdensome, harassing, and not calculated to lead Defendant will produce any responsive, non-
   SENT: August 5, 2022 individuals or entities with whom you claim to have an         to the discovery of admissible evidence and even calls for privileged documents.
                        attorney-client relationship in connection with the 2020       privileged documents in that it calls for “all documents”
23 RESPONSE RECEIVED: Presidential Election, including, but not limited to,            sufficient to evidence an attorney-client relationship.
   Sept. 12, 2022       services (if any) provided to the Trump Campaign and
                        Donald J. Trump in his personal capacity.


      Second Set of RFPSRFP No. 24: All Documents and Communications upon N/A                                                                         Defendant will produce any responsive, non-
                        which you plan to rely to assert the existence of any                                                                         privileged documents.
   SENT: August 5, 2022 privileges, including the attorney-client, work product,
                        and common interest privileges asserted in the First
24 RESPONSE RECEIVED: Privilege Log. For clarity, this request includes any
   Sept. 12, 2022       documents upon which you plan to rely regarding the role
                        and relationships among Trump’s Personal Lawyers (as
                        defined in the deficiency letter and defined here).


      Second Set of RFPSRFP No. 25: Documents sufficient to identify all of the Defendant objects that this Request is overly broad,          Subject to and without waiving these objections,
                        individuals and entities who appear on the First Privilege unduly burdensome, harassing, and not calculated to lead Defendant will produce any responsive, non-
   SENT: August 5, 2022 Log in any capacity.                                       to the discovery of admissible evidence and even calls for privileged documents.
25                                                                                 privileged documents in that it calls for “all documents”
   RESPONSE RECEIVED:                                                              sufficient to evidence an attorney-client relationship.
   Sept. 12, 2022




                                                                                                3
                                Case 1:21-cv-03354-BAH Document 44-3 Filed 04/17/23 Page 5 of 7


RFP     Date of Request/Set #                     Request                                                         Objection                                                 Response
      Second Set of RFPSRFP No. 26: All Documents and Communications that                Defendant objects that the Request is overly broad and      Defendant will produce documents that he has
                        You or any other party or third party produced,                  unduly burdensome and not reasonably limited in scope.      produced in said litigations, if any.
   SENT: August 5, 2022 transcripts of all testimony including depositions, and          Defendant will not produce every production document
                        written discovery requests and responses in any civil            by every party and every deposition transcript. The
   RESPONSE RECEIVED: litigation that arose out of any Claims of Election Fraud          request is not limited even to those documents that
   Sept. 12, 2022       in the 2020 Presidential Election, including but not             concern Plaintiffs.
                        limited to: US Dominion Inc. et al v. Giuliani , No. 1:21-
                        cv-00213-CJN (D.D.C. 2021), US Dominion Inc. et al v.
                        Herring Networks, Inc. et al , No. 1:21-cv-02130-CJN
                        (D.D.C. 2021), US Dominion Inc. et al v. Powell et al ,
                        No. 1:21-cv-00040-CJN (D.D.C. 2021), US Dominion
                        Inc. et al v. Byrne , No. 1:21-cv-02131-CJN (D.D.C.
26                      2021), US Dominion, Inc. et al v. Newsmax Media, Inc ,
                        N21c-08-063 (Del. Sup. Ct 2021), Coomer v. Byrne, No.
                        1:22-cv-01575 (D. Colo. 2022), Coomer v. Lindell et al ,
                        No. 1-22-cv-01129 (D. Colo. 2022), Coomer v. Donald
                        J. Trump for President, Inc., et al , 2020-cv-34319 (Colo.
                        Den. Cty. 2020), Khalil v. Fox Corporation et al , 21-cv-
                        10248 (S.D.N.Y. 2021), Smartmatic USA Corp. et al v.
                        Powell , 21-cv-02995 (D.D.C. 2021), and Freeman et al
                        v. Hoft et al , No. 2122-CC09815 (Mo. Cir. Ct. 2021).




      Second Set of RFPSRFP No. 27: All Documents and Communications                     Defendant objects that this Request is overly broad,       Subject to and without waiving these objections,
                        Relating To the Trump Edited Video, including but not            unduly burdensome, harassing, and not calculated to lead Defendant will produce any responsive, non-
   SENT: August 5, 2022 limited to how the Trump Campaign came into                      to the discovery of admissible evidence and even calls for privileged documents.
                        possession of the Trump Edited Video, any editing of the         privileged documents in that it calls for “all documents
27 RESPONSE RECEIVED: Trump Edited Video conducted by the Trump Campaign,                relating” to how a video was allegedly edited, which calls
   Sept. 12, 2022       any editing of the Trump Edited Video conducted by               for attorney-client work product.
                        anyone else, and methods of dissemination of the Trump
                        Edited Video.
      Second Set of RFPS        RFP No. 28: All copies of the surveillance footage from N/A                                                          None.
                                the State Farm Arena on election night that You, the
      SENT: August 5, 2022      Trump Campaign, and/or anyone else used to create the
28                              Trump Edited Video.
      RESPONSE RECEIVED:
      Sept. 12, 2022

      Second Set of RFPSRFP No. 29: All Documents and Communications                     Defendant objects that this Request is overly broad,         Subject to and without waiving these objections,
                        Relating To the Georgia Senate Election hearing on               unduly burdensome, harassing, and not calculated to lead Defendant will produce any responsive, non-
   SENT: August 5, 2022 December 3, 2020, during which the Trump Edited Video            to the discovery of admissible evidence and even calls for privileged documents.
29                      was displayed, including but not limited to Documents            privileged documents in that it calls for “all documents
   RESPONSE RECEIVED: and Communications Relating To Jacki Pick Deason,                  relating” to a hearing, which calls for attorney-client work
   Sept. 12, 2022       who narrated the display of the Trump Edited Video at            product.
                        the hearing.
      Second Set of RFPSRFP No. 30: All Documents and Communications with                N/A                                                         Any responsive documents have or will be produced.
                        any media entities about Your Claims of Election Fraud
   SENT: August 5, 2022 in the 2020 Presidential Election, including but not
30                      limited to those identified as “Channels to Disseminate
   RESPONSE RECEIVED: Messaging” in the Giuliani Strategic Communications
   Sept. 12, 2022       Plan.

      Second Set of RFPSRFP No. 31: All Documents and Communications                     Defendant objects because this Request calls for            Subject to and without waiving these objections,
                        Relating To the January 2, 2021 phone call between               privileged communications between his counsel and           none.
   SENT: August 5, 2022 Donald J. Trump and Georgia Secretary of State Brad              himself in this litigation. This makes the Request overly
                        Raffensperger, referred to in the Amended Complaint at           broad and unduly burdensome and Defendant objects to
31 RESPONSE RECEIVED: ¶¶ 77-86.                                                          having to log communications with his counsel for the
   Sept. 12, 2022                                                                        instant litigation to the extent there are written
                                                                                         communications.

      Second Set of RFPS        RFP No. 32: All Documents and Communications             Defendant objects because this Request calls for            Subject to and without waiving these objections,
                                Relating To Donald J. Trump’s January 6, 2021 speech     privileged communications between his counsel and           none.
      SENT: August 5, 2022      on the White House Eclipse, referred to in the Amended   himself in this litigation. This makes the Request overly
                                Complaint at ¶ 88.                                       broad and unduly burdensome and Defendant objects to
32 RESPONSE RECEIVED:                                                                    having to log communications with his counsel for the
   Sept. 12, 2022                                                                        instant litigation to the extent there are written
                                                                                         communications.




                                                                                                  4
                                Case 1:21-cv-03354-BAH Document 44-3 Filed 04/17/23 Page 6 of 7


RFP     Date of Request/Set #                 Request                                                 Objection                                             Response
      Second Set of RFPSRFP No. 33: All Documents and Communications        Defendant objects that this Request is overly broad,       Subject to and without waiving these objections,
                        Relating To The Trump Campaign’s “war room” located unduly burdensome, harassing, and not calculated to lead Defendant will produce any responsive, non-
   SENT: August 5, 2022 at the Willard Hotel.                               to the discovery of admissible evidence and even calls for privileged documents.
33                                                                          privileged documents in that it calls for “all documents
   RESPONSE RECEIVED:                                                       relating” to a meeting room for litigation strategy, which
   Sept. 12, 2022                                                           calls for attorney-client work product.


      Second Set of RFPSRFP No. 34: Documents sufficient to show the number Defendant objects to this request as overly broad in that it Subject to and without waiving these objections, any
                        of online views and/or impressions of any posts on any of is not limited to posts related to Fulton County Georgia. responsive documents will be produced.
   SENT: August 5, 2022 Your Social Media accounts, including but not limited to
34                      Your Youtube Accounts, Rumble Accounts, Twitter
   RESPONSE RECEIVED: Accounts, and Facebook accounts.
   Sept. 12, 2022

      Second Set of RFPS        RFP No. 35: Documents sufficient to show the number          N/A                                                        Any responsive documents will be produced.
                                of online views and/or impressions of any of the
      SENT: August 5, 2022      Actionable Statements about Plaintiffs You made, as
35                              described in Amended Complaint at ¶¶ 57-101.
      RESPONSE RECEIVED:
      Sept. 12, 2022
      Second Set of RFPS        RFP No. 36: All Documents and Communications                 Defendant objects that this Request is overly broad,         Subject to and without waiving these objections,
                                Relating To either of the Plaintiffs that You shared with    unduly burdensome, harassing, and not calculated to lead Defendant will produce any responsive,
      SENT: August 5, 2022      any of the persons You list in Your initial disclosures or   to the discovery of admissible evidence and even calls for nonprivileged documents.
36                              any of Your discovery responses.                             privileged documents in that it calls for “all documents
      RESPONSE RECEIVED:                                                                     relating” to Plaintiffs that involve co-counsel and clients,
      Sept. 12, 2022                                                                         which calls for attorney-client work product.

      Second Set of RFPS        RFP No. 37: All Documents and Communications                 Defendant objects that this Request is overly broad,       Subject to and without waiving these objections,
                                Relating To Your Claims of Election Fraud that You           unduly burdensome, harassing, and not calculated to lead Defendant will produce any responsive, non-
      SENT: August 5, 2022      shared or had with any of the persons You list in Your       to the discovery of admissible evidence and even calls for privileged documents.
                                initial disclosures or any of Your discovery responses.      privileged documents in that it calls for “all documents
37 RESPONSE RECEIVED:                                                                        relating” to election fraud that involve co-counsel and
   Sept. 12, 2022                                                                            clients in litigation over the election, which calls for
                                                                                             attorney-client work product.


      Second Set of RFPSRFP No. 38: All Documents and Communications                         Defendant objects that this Request is overly broad,       Subject to and without waiving these objections,
                        Relating to Katherine Friess, including but not limited all          unduly burdensome, harassing, and not calculated to lead Defendant will produce any responsive, non-
   SENT: August 5, 2022 Documents and Communications Relating To Katherine                   to the discovery of admissible evidence and even calls for privileged documents.
38                      Freiss’ drafting, authorship, responsibility over, and/or            privileged documents in that it calls for “all documents”
   RESPONSE RECEIVED: implementation of the Giuliani Strategic Communications                relating to Friess, which calls for attorney-client work
   Sept. 12, 2022       Plan.                                                                product.

      Third Set of RFPsRFP No. 39: Mobile phone records sufficient to show all               Defendant objects to this request as overly broad in that it Subject to and without waiving these objections,
                       phone number and providers You used between                           calls for “all documents” that “relate” to certain claims    Defendant will produce responsive documents at a
   SENT: Nov. 11, 2022 December 1, 2020 and January 31, 2021 and all                         regarding Plaintiffs. Defendant further objects that certain mutually agreeable time and place.
39                     Documents, including mobile phone billing records,                    of the numbers may be confidential and will only be
   RESPONSE RECEIVED: showing the calls You made or received between                         disclosed upon entry of a protective order.
   Dec. 12, 2022       December 1, 2020 and January 31, 2021 relating to Your
                       Claims concerning Plaintiffs.




                                                                                                      5
                                Case 1:21-cv-03354-BAH Document 44-3 Filed 04/17/23 Page 7 of 7


RFP     Date of Request/Set #                   Request                                                      Objection                                                 Response
      Fourth Set of RFPs
                      RFP No. 40: Documents sufficient to show Your yearly          Defendant objects to this request as overly broad and not   Upon a sufficient prima facie showing of actual
                      income since 2018 and Your current net worth, including       reasonably calculated to lead to the discovery of           malice (assuming Plaintiffs can survive a summary
   SENT: Dec. 7, 2022 but not limited to Your tax returns for the years 2018        admissible evidence. Defendant’s financial condition is     judgment), then Defendant will produce a statement
                      through 2021, all periodic statements from January 1,         not relevant to any claim or defense and to the extent      of net worth. See, e.g., D'Onofrio v. Sfx Sports Grp.,
   RESPONSE RECEIVED: 2018 to the present date for all Your checking accounts,      sought for punitive damages, must be narrowly tailored.     Inc. , 247 F.R.D. 43, 53 (D.D.C. 2008).
   Jan. 6, 2023       and all Your other accounts, including but not limited to     Moreover, as to Defendant’s tax returns, Plaintiffs have
                      savings accounts, money market funds, mutual fund             not shown the information sought cannot be obtained
                      accounts, hedge fund accounts and certificates of deposit,    through less intrusive/alternative means.
                      regardless of whether or not the account has been closed,
                      including those held jointly with another person or entity,
                      all insurance policies on Your life which are presently in
                      force whether owned by you or any corporation in which
                      You are an officer, director or stockholder or employee,
40
                      copies of all applications for credit or loans from any
                      bank, credit union, lending institution, issuer of credit
                      cards and any related financial statements prepared by or
                      on Your behalf since January 2018, copies of any
                      corporate tax returns for all corporations in which You
                      were or are a stockholder during any part of the years
                      2018 through present, copies of any partnership tax
                      returns filed by You or on Your behalf since December
                      2018, and financial statements.




      Fourth Set of RFPs
                      RFP No. 41: All filings in Judith S. Giuliani v. Rudolph      Defendant objects to this request as overly broad and not   Upon a sufficient prima facie showing of actual
                      Giuliani , Docket No. 350019/2018 (N.Y. Sup Ct. Aug           reasonably calculated to lead to the discovery of           malice (assuming Plaintiffs can survive a summary
   SENT: Dec. 7, 2022 31, 2018) and all filings related to the enforcement of the   admissible evidence. Defendant’s financial condition is     judgment), then Defendant will produce a statement
                      terms of the settlement agreement reached in Judith S.        not relevant to any claim or defense and to the extent      of net worth. See, e.g., D'Onofrio v. Sfx Sports Grp.,
   RESPONSE RECEIVED: Giuliani v. Rudolph Giuliani , Docket No. 350019/2018         sought for punitive damages, must be narrowly tailored.     Inc. , 247 F.R.D. 43, 53 (D.D.C. 2008). Finally, all of
41 Jan. 6, 2023       (N.Y. Sup Ct. Aug 31, 2018), including, but not limited       Moreover, as to Defendant’s tax returns, Plaintiffs have    the information sought in this request is equally
                      to, Judith S. Giuliani’s lawsuit filed in the Supreme Court   not shown the information sought cannot be obtained         accessible to Plaintiffs as public records.
                      of the State of New York in or around August 2022.            through less intrusive/alternative means.




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